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                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

In re:                                     §                     Case No. 23-31315-H5-13
Jarrod Erwin                               §
Debtor                                     §                     Chapter 13


                          APPLICATION TO EMPLOY ATTORNEY
                          AS SPECIAL COUNSEL FOR LITIGATION
                                     [DAVID BERG]

        THIS MOTION SEEKS AN ORDER THAT MAY ADVERSELY AFFECT
        YOU. IF YOU OPPOSE THE MOTION, YOU SHOULD IMMEDIATELY
        CONTACT THE MOVING PARTY TO RESOLVE THE DISPUTE. IF YOU
        AND THE MOVING PARTY CANNOT AGREE, YOU MUST FILE A
        RESPONSE AND SEND A COPY TO THE MOVING PARTY. YOU MUST
        FILE AND SERVE YOUR RESPONSE WITHIN 21 DAYS OF THE DATE
        THIS WAS SERVED ON YOU. YOUR RESPONSE MUST STATE WHY
        THE MOTION SHOULD NOT BE GRANTED. IF YOU DO NOT FILE A
        TIMELY RESPONSE, THE RELIEF MAY BE GRANTED WITHOUT
        FURTHER NOTICE TO YOU. IF YOU OPPOSE THE MOTION AND
        HAVE NOT REACHED AN AGREEMENT, YOU MUST ATTEND THE
        HEARING. UNLESS THE PARTIES AGREE OTHERWISE, THE COURT
        MAY CONSIDER EVIDENCE AT THE HEARING AND MAY DECIDE
        THE MOTION AT THE HEARING.

        REPRESENTED              PARTIES   SHOULD      ACT     THROUGH         THEIR
        ATTORNEYS.

        THE DEBTOR AND APPLICANT MAY REQUEST EXPEDITED
        CONSIDERATION OF THE APPLICATION.

Please take notice that a hearing regarding Application to Employ Special Counsel has been
set for April 10, 2024, at 1:30 pm.

Parties may participate in person or electronically. To participate in person, the hearing will
be at the United States Federal Courthouse 515 Rusk Ave., Houston, Texas 77002, courtroom
403.

FROM THE WEBSITE OF JUDGE NORMAN:




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All NON-EVIDENTIARY, UNCONTESTED OR UNOPPOSED EVIDENTIARY hearings will
be held on a HYBRID BASIS. Parties may appear either remotely or in person unless the Court
orders otherwise. Remote appearances shall be made both by video and telephone.

All EVIDENTIARY, CONTESTED OR OPPOSED trials or hearings will be held IN PERSON
unless a hybrid trial or hearing is consented to by all parties. Parties shall at least two business
day prior to any scheduled evidentiary hearing file a stipulation with an order seeking a hybrid
trial or hearing. The Court will then, if approved, enter the order for a hybrid trial or
hearing. Hybrid trials or hearings are NOT available if the Court has previously ordered in person
appearance.

To participate electronically, parties must follow the instructions set forth on Judge
Norman’s web page located at:

https://www.txs.uscourts.gov/page/united-states-bankruptcy-judge-jeffrey-p-norman

Parties are additionally instructed:

The dial in number for hearings before Judge Norman is 832-917-1510 and the conference room
number is 174086 and

For video appearances and witness testimony, parties are to utilize the GoToMeeting web-based
application and enter conference code: judgenorman


TO THE HONORABLE UNITED STATES BANKRUPTCY JUDGE:

        COME NOW, Jarrod Erwin (“Debtor”) and makes this Application to employ David Berg

of the Law Office of David Berg (“Berg”) as Special Counsel for Litigation in the bankruptcy and

other federal litigation cases (“Application”) and respectfully shows the Court as follows:

1.      Debtor initially filed a voluntary petition for relief under chapter 7 of Title 11 (the

        “Bankruptcy Code”) on April 7, 2023. On May 8, 2023 the case was converted to chapter

        13.

2.      The case is pending before the United States Bankruptcy Court for the Southern District of

        Texas, Houston Division.




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3.      As background, in 2014, Debtor, his brother, Ryan, and his late father, “Randy” Erwin (the

        “Parties”) entered into a prepaid retainer agreement with the Firm to represent the Parties,

        Motorskill Ventures, Inc, and its affiliates, in a pre-indictment investigation (“the

        Agreement”). The Parties were the late Joel Androphy’s client.

4.      The retainer was funded fully in 2015 by a third party from funds not belonging to the

        Debtor. No charges have been filed in the pre-indictment matter. The retainer covered all

        services to be provided by Berg. As a result, no further amounts for fees or reimbursement

        for expenses will be due to Berg or any individual or entity on his behalf.

5.      Since the disability in 2022, and death in 2023, of Joel Androphy, Berg has assumed his

        role, advising Debtor on the possible effect of developments in this bankruptcy, the MDL

        in Tennessee, styled, In the Matter of the AME Church Employee Retirement Fund

        Litigation MDL No. 1:22-md-03035 pending in the Western District Court of Tennessee

        (the “Litigation”) and an SEC inquiry, on the pre-indictment matter (the “Collective

        Matters”).

6.      The professional services to be rendered on behalf of the Debtor by Berg are limited to

        advising Debtor, as special counsel, on the Collective Matters in the manner described in

        paragraph 5. Berg does not intend to make any in-court appearances in the bankruptcy.

7.      Except as described, Berg does not hold or represent any interest adverse to Debtor’s estate

        in the matters on which Berg is representing the Debtor and his brother, Ryan. Berg is a

        “disinterested person” within the meaning of §101(14) of the Bankruptcy Code.

8.      The continued services of Berg for the Collective Matters is beneficial to the estate and the

        Debtor.



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9.      To the knowledge of Applicant, no persons or parties will be prejudiced by the granting of

        this application.

10.     Berg is duly admitted to practice in and is in good standing in the States of Texas and New

        York, and the United States District Courts for the Southern District of Texas. The Debtor

        selected the Firm because of its reputation and experience in litigation matters.

11.     The Office of the United States Trustee has been provided with a copy of this Application.

12.     No previous application for the relief requested herein has been made to this or any other

        Court, except as stated herein.

13.     The Statement of the Attorney pursuant to Bankruptcy Rule 2014 is attached.

14.     The Statement of the Attorney pursuant to Bankruptcy Rule 2016(b) is attached.

        WHEREFORE, Debtor requests the entry of an order that authorizes the Debtor to employ

        David Berg as special litigation counsel in the Collective Matters on a fully paid retainer

        and grant the Debtor such other and further relief to which he may be entitled.

        DATED: February 29, 2024


                                              Respectfully submitted,

                                              /s/ Reese W. Baker
                                              Reese W. Baker
                                              TX Bar No. 01587700
                                              950 Echo Lane, Ste 300
                                              Houston, Texas 77024
                                              (713) 869-9200
                                              (713) 869-9100 Fax
                                              ATTORNEY FOR DEBTOR




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                                 CERTIFICATE OF SERVICE

        I certify that on March 1, 2024, 2024, I caused a copy of the foregoing document to be
delivered to the Electronic Case Filing System for the United States Bankruptcy Court for the
Southern District of Texas.

        I also certify that on March 4, 2024, that this motion was sent by email to the following:

See Exhibit A
                                              /s/ Reese W. Baker
                                              Reese W. Baker




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